Filed 8/26/24 In re J.F. CA4/1

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                  COURT OF APPEAL, FOURTH APPELLATE DISTRICT

                                                       DIVISION ONE

                                              STATE OF CALIFORNIA



 In re J.F., a Person Coming Under
 the Juvenile Court Law.
                                                                         D082913
 THE PEOPLE,

            Plaintiff and Respondent,                                    (Super. Ct. No. J243407)

            v.

 J.F.,

            Defendant and Appellant.


          APPEAL from a judgment of the Superior Court of San Diego County,
Rohanee Zapanta, Judge. Affirmed.
          Michaela Dalton, under appointment by the Court of Appeal, for
Defendant and Appellant.
          No appearance for Plaintiff and Respondent.


          J.F. appeals from the juvenile court’s judgment entered after
jurisdictional and dispositional orders sustaining allegations of robbery and
receiving stolen property, declaring J.F. a ward of the court, and committing
him to juvenile detention for a period not to exceed 250 days. His court-
appointed counsel filed a brief raising no issues but seeking our independent
review of the record pursuant to People v. Wende (1979) 25 Cal.3d 436(Wende) and Anders v. California (1967) 386 U.S. 738 (Anders). We informed
J.F. of his right to file a supplemental brief, but he did not respond. Based on
our independent review of the record, we find no reasonably arguable
appellate issues and affirm the judgment.
              FACTUAL AND PROCEDURAL BACKGROUND
      In May 2023, the victim of the robbery, G.V., was outside a T-Mobile
store with another friend, when a group of six other minors approached him
and eventually stole his skateboard and a speaker. J.F. was identified as one
of the perpetrators. G.V. testified that he and the friend were hanging out,
when the six other minors, some of whom G.V. recognized from school,
approached them. G.V. said the six kids were initially friendly, but that
when G.V.’s friend left, they became aggressive and went through G.V.’s
pockets. They eventually took G.V.’s skateboard and a speaker that they
found in a bag he was carrying. Security cameras from a nearby Starbucks
captured the incident on video and G.V. was interviewed by police
investigators shortly after. During the interview, G.V. told police that J.F.
put his hands in G.V.’s pockets to look for valuable items. J.F. was charged
with robbery for his role in the incident.
      Several months after the robbery, J.F.’s mother called 9-1-1 to report
that J.F. had stolen her car. She told police that she had given J.F. her car
keys so he could get something out of her car. She then fell asleep, and when
she woke up, J.F. and the car were missing, so she called the police. J.F.
eventually returned home, and his mother found him passed out in the car
with alcohol containers inside.


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      J.F. was taken into custody shortly after this incident and the district
attorney filed a wardship petition pursuant to Welfare and Institutions Code
section 602, alleging one count of robbery related to the earlier incident
(Pen. Code, § 211) and one count of receiving stolen property related to taking
his mother’s car (Id., § 496d.)
      At the detention hearing, the court arraigned J.F. and he denied both
charges. At the jurisdictional hearing, the juvenile court heard testimony
from G.V., J.F.’s mother, a school official who helped identify J.F. as one of
the six who perpetrated the robbery, and the investigating police officer.
During his direct examination, G.V. initially stated he could not recall
anything about the robbery. The prosecutor then impeached G.V. with the
video showing the incident and G.V.’s interview with the investigating officer,
during which he identified J.F. as the person who went into his pockets.
      Based on the evidence presented at the jurisdictional hearing, the
juvenile court found the allegations in the petition true as to both counts and
continued the proceedings for a dispositional hearing. At the hearing, the
probation department recommended J.F. be committed to Urban Camp for no
more than 250 days. The People requested that J.F. be committed to the
HOPE program for a minimum of 365 days. At the conclusion of the hearing,
the court declared J.F. a ward of the court and adopted the recommendation
of the probation department to commit J.F. to Urban Camp for a period not to
exceed 250 days. J.F. timely appealed.
                                  DISCUSSION
      J.F.’s appellate counsel filed a brief pursuant to Wende, supra, 25
Cal.3d 436 and Anders, supra, 386 U.S. 738. Counsel included a statement of
the case and facts but argued no grounds for reversal of the judgment. J.F.’s
appellate counsel asked this court to independently review the record for


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error. Pursuant to Anders, counsel identified several issues to assist the
court: (1) Whether trial counsel was ineffective for failing to renew an
objection to the testimony of a witness the prosecution did not name until the
day the jurisdictional hearing was set to begin; (2) whether G.V.’s statements
to police were improperly admitted as impeachment evidence; (3) whether
sufficient evidence supported the true finding that J.F. received stolen
property; (4) whether sufficient evidence supported the true finding that J.F.
committed robbery; and (5) whether the juvenile court abused its discretion
adjudging J.F. a ward of the court and committing him to Urban Camp 250.
      We reviewed the entire record as required by Wende and Anders. We
have found no arguable issues for reversal on appeal. Competent counsel
represented J.F. both at trial and on appeal.
                                DISPOSITION
      The judgment is affirmed.


                                                           McCONNELL, P. J.

WE CONCUR:


O'ROURKE, J.


KELETY, J.




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